Case: 3:19-cr-00079-EGS-RM Document #: 555 Filed: 09/13/23 Page 1 of 11

IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,

IVAN JAMES,

KAI JAMES,

JOH WILLIAMS,
MALACHI BENJAMIN,
JAHKIEBO JOSEPH, and
ARIEL PETERSEN,

Defendants.

THE GRAND JURY CHARGES:

THIRD SUPERSEDING INDICTMENT
CASE NO. 2019-CR-00079

VIOLATIONS:

21 U.S.C. §§ 841(a)(1), 846
18 U.S.C. §§ 371, 2

18 U.S.C. §§ 922(a)(3), 922(e)
18 U.S.C. §§ 924(c), 924(j)

14 V.LC. §§ 921, 922(a)(1)

COUNT ONE

From in or about January 1, 2013, the exact date unknown, until on or about September

2019, in the District of the Virgin Islands, and elsewhere, the defendants,

IVAN JAMES,
KAI JAMES,

JOH WILLIAMS,
MALACHI BENJAMIN,
JAHKIEBO JOSEPH,
ARIEL PETERSEN,

and others known and unknown to the Grand Jury, did knowingly and intentionally combine,

conspire, confederate, and agree, together and with other persons, to manufacture and possess with

the intent to distribute a mixture or substance containing a detectible amount of Cocaine

Hydrochloride, a Schedule II Controlled Substance, and a mixture or substance containing a

detectable amount of Marijuana, a Schedule I Controlled Substance. All in violation of 21 U.S.C.

§§ 846 and 841(a)(1).

T GCb US-1aT'p.224

rp
i

Ede

‘Tid

ct
ace

ih

i

Case: 3:19-cr-00079-EGS-RM Document#:555 Filed: 09/13/23 Page 2 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment

Page 2
COUNT TWO
On or about March 3, 2019, in the District of the Virgin Islands, and elsewhere, the
defendants,
KAI JAMES,
JAHKIEBO JOSEPH,

and others known and unknown to the Grand Jury, aided and abetted by each other, did knowingly
and intentionally attempt to possess with the intent to distribute, less than fifty (50) kilograms or
more of a mixture or substance containing a detectible amount of Marijuana, a Schedule |
Controlled Substance. All in violation of 21 U.S.C. §§ 841(b)(1)(D) and 18 U.S.C. § 2.

COUNT THREE

On or about July 14, 2017, in the District of the Virgin Islands, the defendants,
IVAN JAMES,
KAI JAMES,
MALACHI BENJAMIN,

and others known and unknown to the Grand Jury, aided and abetted by each other, did knowingly
and intentionally possess with the intent to distribute one thousand (1,000) or more Marijuana
plants, a Schedule I Controlled Substance. All in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C.
§ 2.

COUNT FOUR

On or about July 14, 2017, in the District of the Virgin Islands, the defendants,

IVAN JAMES,
MALACHI BENJAMIN,

Case: 3:19-cr-00079-EGS-RM Document#: 555 Filed: 09/13/23 Page 3 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 3

and others known and unknown to the Grand Jury, aided and abetted by each other, did knowingly
and intentionally possess with the intent to distribute five hundred (500) grams or more of a
substance or mixture containing a detectible amount of Cocaine Hydrochloride, a Schedule II
Controlled Substance. All in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

COUNT FIVE

From on or about January 1, 2019, the exact date unknown, until on or about September

2019, in the District of the Virgin Islands, and elsewhere, the defendants,
KAI JAMES,
JAHKIEBO JOSEPH, and
ARIEL PETERSEN,

knowingly and willfully conspired and agreed together and with each other, and with other persons
known and unknown to the grand jury, to commit violations of 18 U.S.C. § 922(a)(3), that is, to,
not being licensed importers, manufacturers, dealers, and collectors of firearms, within the
meaning of Chapter 44, Title 18, United States Code, willfully transport into the United States
Virgin Islands, where KAI JAMES, JAHKIEBO JOSEPH, and ARIEL PETERSEN then
resided, the following firearms: (1) a Smith & Wesson, 9 Millimeter Handgun, Serial Number
HPP3181; (2) a Smith & Wesson, 9 Millimeter Handgun, Serial Number HSR3500; (3) a Glock
22, .40 Caliber Handgun, Serial Number BDUN801; (4) a Glock 19, 9 Millimeter Handgun, Serial
Number RYF733; and (5) a Colt Sporter .223 Caliber, AR-15 Rifle, Serial Number MH064994,
said firearms having been obtained by KAI JAMES, JAHKIEBO JOSEPH, and ARIEL

PETERSEN outside the United States Virgin Islands.

Case: 3:19-cr-00079-EGS-RM Document #:555 Filed: 09/13/23 Page 4 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 4

OVERT ACTS
In furtherance of the unlawful conspiracy, KAI JAMES, JAHKIEBO JOSEPH, and
ARIEL PETERSEN performed the following overt acts, among others, in the District of the

Virgin Islands and elsewhere:

(a) On or about January 28, 2019, ARIEL PETERSEN caused two (2)
firearms: (1) Smith & Wesson, Model M&P 9 Shield, Serial Number
HSR3500; and (2) Glock .40 Caliber, Model 22, Serial Number
RYF733, to be purchased from Premiere Pawn in Orlando, FL, by
providing cash to purchase said firearms;

(b)  Onor about January 28, 2019, ARIEL PETERSEN delivered the
above-described firearms to JAHKIEBO JOSEPH. JOSEPH also
caused several extended Glock magazines, drums and a holster to be
purchased.

(c) Thereafter, JAHKIEBO JOSEPH traveled to Miami, FL, with the
firearms, magazines, drum and holster where JOSEPH and KAI
JAMES shipped the same from Miami, FL, to St. Croix, VI, on or
about February 28, 2019, with Paradise Freight, a cargo shipping
company.

(d) | Onor about March 3, 2019, said firearms, drum and holster arrived
in St. Croix, VI.

All in violation of 18 U.S.C. §§ 371, 922(a)(3) and 924(a)(1)(D).
COUNT SIX
On or about February 28, 2019, in the District of the Virgin Islands, and elsewhere, the

defendants,

KAI JAMES,
JAHKIEBO JOSEPH,
ARIEL PETERSEN,

Case: 3:19-cr-00079-EGS-RM Document #:555 Filed: 09/13/23 Page 5 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 5

and others known and unknown to the Grand Jury, aiding and abetting each other, not being
licensed importers, manufacturers, dealers, and collectors of firearms, within the meaning of
Chapter 44, Title 18, United States Code, did willfully transport into the United States Virgin
Islands, where KAI JAMES, JAHKIEBO JOSEPH, and ARIEL PETERSEN then resided, the
following firearms: (1) a Smith & Wesson, 9 Millimeter Handgun, Serial Number HPP3181; (2) a
Smith & Wesson, 9 Millimeter Handgun, Serial Number HSR3500; (3) a Glock 22, .40 Caliber
Handgun, Serial Number BDUN801; (4) a Glock 19, 9 Millimeter Handgun, Serial Number
RYF733; and (5) a Colt Sporter .223 Caliber, AR-15 Rifle, Serial Number MH064994, said
firearms having been purchased and otherwise obtained by KAI JAMES, JAHKIEBO JOSEPH,
and ARIEL PETERSEN outside the United States Virgin Islands. All in violation of 18 U.S.C.
§§ 922(a)(3) & 924(a)(1)(D).
COUNT SEVEN

On or about February 28, 2019, in the District of the Virgin Islands, and elsewhere, the

defendants,
KAI JAMES,
JAHKIEBO JOSEPH, and
ARIEL PETERSEN,

aiding and abetting each other, did knowingly deliver and cause to be delivered to a common or
contract carrier for transportation or shipment in interstate commerce, to a person or persons other
than licensed importers, licensed manufacturers, licensed dealers, or licensed collectors, a
container in which there were the following firearms: (1) a Smith & Wesson, 9 Millimeter

Handgun, Serial Number HPP3181; (2) a Smith & Wesson, 9 Millimeter Handgun, Serial Number

Case: 3:19-cr-00079-EGS-RM Document #: 555 Filed: 09/13/23 Page 6 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 6

HSR3500; (3) a Glock 22, .40 Caliber Handgun, Serial Number BDUN801; (4) a Glock 19, 9
Millimeter Handgun, Serial Number RYF733; and (5) a Colt Sporter .223 Caliber, AR-15 Rifle,
Serial Number MH064994, without written notice to the carrier that such firearms were being
transported and shipped. All in violation of 18 U.S.C. §§ 922(e) and 2.
COUNT EIGHT

On or about February 28, 2019, in the District of the Virgin Islands and elsewhere, the

defendants,
KAI JAMES,
JAHKIEBO JOSEPH, and
ARIEL PETERSEN,

aided and abetted by each other, did knowingly possess the following firearms, that is: (1) a Smith
& Wesson, 9 Millimeter Handgun, Serial Number HPP3181; (2) a Smith & Wesson, 9 Millimeter
Handgun, Serial Number HSR3500; (3) a Glock 22, .40 Caliber Handgun, Serial Number
_BDUN801; (4) a Glock 19, 9 Millimeter Handgun, Serial Number R YF733; and (5) a Colt Sporter
.223 Caliber, AR-15 Rifle, Serial Number MH064994, in furtherance of a drug trafficking crime
for which they may be prosecuted in a court of the United States, that is: Conspiracy to Possess
with Intent to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1), as
set forth and charged in Count One of this Third Superseding Indictment and incorporated herein. -
All in violation of 18 U.S.C. §§ 924(c)(1)(A) and 2.

COUNT NINE

On or about August 3, 2017, in the District of the Virgin Islands, the defendant,

IVAN JAMES,

Case: 3:19-cr-00079-EGS-RM Document #:555 Filed: 09/13/23 Page 7 of 11

United States v. James, et al., Case No, 2019-CR-00079
Third Superseding Indictment
Page 7

did knowingly possess the following firearms, that is: (1) an Olympic Arms MFR AR Rifle bearing
Serial Number TB1292; (2) a Glock 40 Caliber Pisto] bearing Serial Number NBN326; and (3) a
Romarm WASR-10 AK Rifle bearing Serial Number AG4449, in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States, that is: Conspiracy to Possess
with Intent to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1), as
set forth and charged in Count One of this Third Superseding Indictment and incorporated herein.
All in violation of 18 U.S.C. §§ 924(c)(1)(A) and 2.
COUNT TEN
On or about August 3, 2017, in the District of the Virgin Islands, the defendant,
MALACHI BENJAMIN,

did knowingly possess a firearm, that is, a Springfield KD .45 Caliber Handgun bearing Serial
Number US703390, in furtherance of a drug trafficking crime for which he may be prosecuted in
a court of the United States, that is: Conspiracy to Possess with Intent to Distribute Controlled
Substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1), as set forth and charged in Count One
of this Third Superseding Indictment and incorporated herein. All in violation of 18 U.S.C. §§
924(c)(1)(A) and 2.

COUNT ELEVEN

On or about August 3, 2017, in the District of the Virgin Islands, the defendant,
KAI JAMES,
did knowingly possess a firearm, that is, a HK P2000 .40 Handgun bearing Serial Number

123074009, in furtherance of a drug trafficking crime for which he may be prosecuted in a court

Case: 3:19-cr-00079-EGS-RM Document #: 555 Filed: 09/13/23 Page 8 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 8

of the United States, that is: Conspiracy to Possess with Intent to Distribute Controlled Substances,
in violation of 21 U.S.C. §§ 846 and 841(a)(1), as set forth and charged in Count One of this Third
Superseding Indictment and incorporated herein. All in violation of 18 U.S.C. §§ 924(c)(1)(A) and
2.
COUNT TWELVE
On or about May 25, 2017, in the District of the Virgin Islands, the defendants,

IVAN JAMES, and
JOH WILLIAMS,

did knowingly use, carry, and discharge, and aided and abetted the use, carrying and discharge of
firearms, that is: (1) an Olympic Arms MFR AR Rifle bearing Serial Number 1B1292: and (2) a
Glock 40 Caliber Pistol bearing Serial Number NBN326, during and in relation to a drug
trafficking crime, for which they may be prosecuted in a court of the United States, that is:
Conspiracy to Possess and Distribute Controlled Substances, in violation of 21 US.C. § 846, as
charged in Count One of this Third Superseding Indictment, in violation of 18 U.S.C. § 924(c)(1),
and in the course of this violation caused the death, and aided and abetted the killing, of a person
through the use and discharge of said firearms, which killing is a murder, as defined in 18 U.S.C.
§ 1111, in that defendants, with malice aforethought, unlawfully killed LEVAR POGSON by
shooting him with the firearms willfully, deliberately, maliciously, and with premeditation. All in
violation of 18 U.S.C. §§ 924q)(1) and 2.

COUNT THIRTEEN

On or about May 25, 2017, in the District of the Virgin Islands, the defendants,

Case: 3:19-cr-00079-EGS-RM Document #: 555 Filed: 09/13/23 Page 9 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 9

IVAN JAMES, and
JOH WILLIAMS,

did knowingly use, carry, and discharge, and aided and abetted the use, carrying and discharge of
firearms, that is: (1) an Olympic Arms MFR AR Rifle bearing Serial Number TB1292; and (2) a
Glock 40 Caliber Pistol bearing Serial Number NBN326, during and in relation to a crime of
violence, for which they may be prosecuted in a court of the United States, that is: First Degree
Murder, in violation of 14 V.I.C. § 922(a)(1), as charged in Count Fourteen of this Third
Superseding Indictment, in violation of 18 U.S.C. § 924(c)(1), and in the course of this violation
caused the death, and aided and abetted the killing, of a person through the use and discharge of
said firearms, which killing is a murder, as defined in 18 U.S.C. § 1111, in that defendants, with
malice aforethought, unlawfully killed LEVAR POGSON by shooting him with said firearms
willfully, deliberately, maliciously, and with premeditation. All in violation of 18 U.S.C. §§
924(j)(1) and 2.
COUNT FOURTEEN

On or about May 25, 2017, in the District of the Virgin Islands, the defendants,

IVAN JAMES, and
JOH WILLIAMS,

aided and abetted by each other, did unlawfully kill LEVAR POGSON, a human being, with
malice aforethought, and in a willful, deliberate and premeditated manner, to wit: by shooting

LEVAR POGSON with firearms. All in violation of 14 V.I.C. §§ 921, 922(a)(1) and 11.

Case: 3:19-cr-00079-EGS-RM Document #: 555 Filed: 09/13/23 Page 10 of 11

United States v. James, et al, Case No. 2019-CR-00079
Third Superseding Indictment
Page 10

FORFEITURE ALLEGATION

The allegations contained in Counts One through Fourteen of this Third Superseding
Indictment are hereby re-alleged and incorporated by reference for the purpose of alleging
forfeiture, pursuant to the provisions of 21 U.S.C. § 853.

1. Upon conviction of the violations alleged in Counts One through Fourteen of this
Third Superseding Indictment, including violations of 21 U.S.C. §§ 841(a)(1), 841(a)(1) and 846,
and 18 U.S.C. § 2, defendants IVAN JAMES, KAI JAMES, JOH WILLIAMS, MALACHI
BENJAMIN, ARIEL PETERSEN and JAHKIEBO JOSEPH shall forfeit to the United States,
pursuant to 21 U.S.C. § 853(a), the following firearms: (1) Smith & Wesson 9 Millimeter
Handgun, Serial Number HPP3181; (2) Smith & Wesson 9 Millimeter Handgun, Serial Number
HSR3500; (3) Glock 22, .40 Caliber Handgun, Serial Number BDUN801; (4) Glock 43, 9
Millimeter Handgun, Serial Number RYF733; (5) Colt Sporter .223 Caliber AR-15 Rifle, Serial
Number MH064994; (6) Olympic Arms MFR AR Rifle, Serial Number TB1292; (7) Glock 40
Caliber Pistol, Serial Number NBN326; (8) Springfield XD .45 Caliber Handgun, Serial Number
US703390; (9) Romarm WASR-10 AK Rifle, Serial Number AG4449; and (10) HK P2000 .40
Handgun, Serial Number 123074009, and any and all of the defendants’ right, title and interest in
any and all property, real or personal, constituting or derived from, any proceeds obtained, directly
or indirectly, as the result of the offenses; and any property used, or intended to be used, in any
manner or part, to commit or to facilitate the commission of these offenses. The United States will

also seek a forfeiture money judgment against the defendants equal to the value of any property

Case: 3:19-cr-00079-EGS-RM Document#: 555 Filed: 09/13/23 Page 11 of 11

United States v. James, et al., Case No. 2019-CR-00079
Third Superseding Indictment
Page 11

constituting or derived from any proceeds obtained, directly or indirectly, as the result of these

offenses.
2. If any of the property described above, as a result of any act or omission of
defendants:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third
party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e)

has been commingled with other property which cannot
be subdivided without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

property of said defendants up to the value of the forfeitable property.

DELIA L. SMITH

United States Attorney

District of the Virgin Islands
5500 Veteran’s Drive, Suite 260

St. Thomas, Virgin Islands 00802
_ Delia.Smith@usdoj.gov

Dated: September 13, 2023

DISTRICT COURT OF THE VIRGIN ISLANDS: Returned into the District Court,
District of the Virgin Islands, on this ie day of _¢ 40 BAA

Jurors and filed.

HONORABLE RUTH MILLER
United States Magistrate

District of the Virgin Islands

2023, by Grand

